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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              WICHITA FALLS DIVISION



 UNITED STATES OF AMERICA      §
                               §
 V                             §                             NO: 7:12-CR-005-O
                               §
 HEATHER MICHELLE DOUGLAS (33) §



               ORDER ACCEPTING REPORT AND RECOMMENDATION
                  OF THE UNITED STATES MAGISTRATE JUDGE
                        CONCERNING PLEA OF GUILTY

        After reviewing all relevant matters of record, including the Notice Regarding Entry of a

 Plea of Guilty, the Consent of the defendant, and the Report and Recommendation Concerning

 Plea of Guilty of the United States Magistrate Judge, and no objections thereto having been filed

 within fourteen days of service in accordance with 28 U.S.C. § 636(b)(1), the undersigned

 District Judge is of the opinion that the Report and Recommendation of the Magistrate Judge

 concerning the Plea of Guilty is correct, and it is hereby accepted by the Court. Accordingly, the

 Court accepts the plea of guilty, and HEATHER MICHELLE DOUGLAS is hereby adjudged

 guilty. Sentence will be imposed in accordance with the Court's scheduling order.



        SIGNED this 27TH day of September, 2013.




                                                 _____________________________________
                                                 Reed O’Connor
                                                 UNITED STATES DISTRICT JUDGE
